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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

Companion Property and Casualty       )
Insurance Company (n/k/a Sussex       )             Civil Action No.: 3:15-cv-01300-JMC
Insurance Company),                   )
                                      )
                      Plaintiff,      )
       v.                             )
                                      )
U.S. Bank National Association,       )
                                      )
                      Defendant.      )
___________________________________ )
                                      )
U.S. Bank National Association,       )
                                      )
              Third-Party Plaintiff,  )
       v.                             )
                                      )                                 ORDER
Redwood Reinsurance SPC, Ltd.;        )
Southport Specialty Finance;          )
Southport Lane Advisors;              )
Administrative Agency Services; and   )
Alexander Chatfield Burns,            )
                                      )
              Third-Party Defendants. )
___________________________________ )
                                      )
Alexander Chatfield Burns,            )
                                      )
              Crossclaim Plaintiff,   )
       v.                             )
                                      )
Companion Property and Casualty       )
Insurance Company (n/k/a Sussex       )
Insurance Company),                   )
                                      )
              Crossclaim Defendant.   )
___________________________________ )

       This matter is before the court to address the posture of this case now that “[t]he parties

have finalized and executed the settlement agreement.” (ECF No. 555 at 2 ¶ 1.) Based on this



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information, the court is able to address internal docketing considerations and, accordingly, IT

IS ORDERED that this action is hereby dismissed without costs and without prejudice. If the

settlement is not fully consummated within ninety (90) days, either party may petition the court

to reopen this action and restore it to the calendar. Fed. R. Civ. P. 60(b)(6). In the alternative, to

the extent permitted by law, either party may within ninety (90) days petition the court to enforce

the settlement. Fairfax Countywide Citizens v. Fairfax County, 571 F.2d 1299 (4th Cir. 1978).

       Because it is entering this order to satisfy internal docketing considerations, the court

advises the parties that it will not enter judgment starting the appeals clock in the matter until the

parties convey that the case is fully and completely settled. In this regard, the court shall retain

jurisdiction to make such further orders as may be necessary or appropriate.

       IT IS SO ORDERED.




                                                      United States District Judge
March 26, 2018
Columbia, South Carolina




                                                  2
